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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 21-CIV-61513-RAR

  ANTHONY CORNELI,
  and other similarly situated individuals,

         Plaintiff,

  v.

  C & P TOWING & TRANSPORT, INC., et al.,

        Defendants.
  _______________________________/

           ORDER ADMINISTRATIVELY CLOSING CASE AND REQUIRING
        SUBMISSION OF SETTLEMENT AGREEMENT FOR COURT APPROVAL

         THIS MATTER comes before the Court upon the parties’ Notice of Settlement [ECF No.

  10] (“Notice”), filed on August 20, 2021. The Notice indicates that the parties have reached a

  settlement in this case, which alleges violations of the Fair Labor Standards Act, 29 U.S.C. § 201

  et seq. (“FLSA”).

         Before a court may approve a proposed settlement under the FLSA, it must scrutinize the

  settlement to determine whether it is a “fair and reasonable resolution of a bona fide dispute.”

  Lynn’s Food Stores, Inc. v. United States, 679 F.2d 1350, 1354–55 (11th Cir. 1982). If the

  settlement reflects a reasonable compromise over FLSA issues that are in dispute, the Court may

  approve the settlement “to promote the policy of encouraging settlement in litigation.” Id. at

  1354. The following factors are typically considered when determining whether a settlement is

  fair and reasonable: “(1) the existence of collusion behind the settlement; (2) the complexity,

  expense, and likely duration of the litigation; (3) the stage of the proceedings and the amount of

  discovery completed; (4) the probability of plaintiff’s success on the merits; (5) the range of

  possible recovery; and (6) the opinions of counsel.” Mason v. Wyndham Vacation Ownership,
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  Inc., No. 10-1805, 2012 WL 570060, at *3 (M.D. Fla. Feb. 17, 2012) (citation omitted); see also

  Dees v. Hydradry, Inc., 706 F. Supp. 2d 1227, 1241 (M.D. Fla. April 19, 2010).

         Additionally, the parties may not bargain away the right to liquidated damages. See D.A.

  Schulte, Inc. v. Gangi, 328 U.S. 108, 114 (1946) (“[W]e think the remedy of liquidated damages

  cannot be bargained away by bona fide settlements of disputes over coverage.”); Lynn’s Food

  Stores, 679 F.2d at 1353 n.8. When an employer violates the FLSA, the employer is liable for the

  amount owed under the FLSA, as well as “an additional equal amount as liquidated damages.” 29

  U.S.C. § 216(b) (emphasis added).

         The FLSA also requires the award of reasonable attorney’s fees to the prevailing employee.

  Dale v. Comcast Corp., 498 F.3d 1216, 1223 n.12 (11th Cir. 2007). The district court is required

  to review the award of attorney’s fees for reasonableness to “assure both that counsel is

  compensated adequately and that no conflict of interest taints the amount the wronged employee

  recovers under a settlement agreement.” Silva v. Miller, 307 F. App’x 349, 351 (11th Cir. 2009).

  The “FLSA provides for reasonable attorney’s fees; the parties cannot contract in derogation of

  [the] FLSA’s provisions . . . . To turn a blind eye to [a] . . . fee in an amount greater than the

  amount determined to be reasonable after judicial scrutiny runs counter to [the] FLSA’s provisions

  for compensating the wronged employee.” Id. at 351-52 (emphasis and alterations added)

  (citations omitted). “[T]he best way to [e]nsure that no conflict has tainted the settlement is for

  parties to reach agreement as to the plaintiff’s recovery before the fees of the plaintiff’s counsel

  are considered.” Bonetti v. Embarq Mgmt. Co., 715 F. Supp. 2d 1222, 1228 (M.D. Fla. 2009); see

  also Dees, 706 F. Supp. 2d at 1243.

         Finally, a proposed FLSA settlement agreement may be rejected as “unreasonable” if it

  contains confidentiality provisions because it “both contravenes the legislative purpose of the

  FLSA and undermines the Department of Labor’s regulatory effort to notify employees of their


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  FLSA rights.” Dees, 706 F. Supp. 2d at 1242-43; see also Hicks v. Vortex Marine Constr., Inc.,

  No. 16-1226, 2017 WL 2664361, at *5 (M.D. Fla. May 4, 2017) (citations omitted) (“Parties

  frequently include confidentiality provisions in their FLSA settlement agreements and those

  provisions are regularly rejected by the courts.”).

         Accordingly, it is hereby ORDERED AND ADJUDGED as follows:

         1. By September 20, 2021, the parties shall file their proposed settlement for the

  undersigned’s review and approval.

         2. To satisfy the standard set forth in Lynn’s Food Stores, the parties shall ensure that the

  settlement agreement they submit to the Court for approval meets the following requirements:

             a. The settlement agreement must include liquidated damages in an amount equal to

                 the unpaid wages awarded.

             b. The settlement agreement must not include confidentiality provisions.

             c. The parties shall submit affidavits or exhibits that will allow the Court to scrutinize

                 the reasonableness of any attorney’s fees and costs awarded under the settlement

                 agreement. The affidavits or exhibits shall describe the number of hours Plaintiff’s

                 counsel worked on the case, what work was done during those hours, and counsel’s

                 hourly billing rate.

     3. The above-styled action is administratively CLOSED without prejudice to the parties to

         file their settlement agreement for approval as set forth above. Any pending motions are

         DENIED as moot.

         DONE AND ORDERED in Fort Lauderdale, Florida, this 20th day of August, 2021.



                                                        _________________________________
                                                        RODOLFO A. RUIZ II
                                                        UNITED STATES DISTRICT JUDGE


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